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 EXHIBIT 1
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SITUATION:

Xpera Investigations was tasked with contacting and conducting a product purchase from Mr. Vaneet Sharma
through the WhatsApp number (925) 915-9739. The below advertisement was provided as the basis for our
inquiries.




SUMMARY:

   •    Mr. Sharma was first contacted by the investigator through WhatsApp, at the number (925) 915-9739 on
        November 21, 2023. The investigator introduced himself and requested to make an IPTV purchase. Mr.
        Sharma quoted USD $250 for the box and USD $20 for shipping. The investigator transferred the
        amount to his PayPal account associated with the email – vaneetsharma@vastuexpertusa.com. on
        November 22, 2023.

   •    On November 23, 2023. Mr. Sharma requested the investigator to write a review on his Google page
        (Astro Vastu Solution – Dr Vaneet Sharma), and offered to provide a free month of IPTV service in



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        return. A review was written as per the request.

   •    Mr. Sharma shipped the IPTV box on November 27, 2023. However, on November 28, the investigator
        received a refund of USD $270 from Mr. Sharma, along with an email request from the subject to delete
        the above mentioned google review. The investigator subsequently inquired about this and was told that
        the subject's partner did not want online reviews nor a record of the payment. The subject then
        requested that the payment be made through the Zelle, online payment method. Since, it is not possible
        to access Zelle from Canada, the investigator requested some time to determine how to make the
        money transfer.

   •    There were periodic WhatsApp interactions with the subject regarding how to make the payment. It
        should be noted that Mr. Sharma was adamant about receiving the payment through the Zelle online
        method. However, on January 8, 2024, he agreed to accept payment through PayPal. The investigator
        immediately paid the subject USD $270 to the PayPal account associated with the email ID –
        vaneetsharma@vastuexpertusa.com.

   •    On January 8, 2024, the investigator inquired as to how he could sell subscriptions to other customers.
        Mr. Sharma suggested the Investigator purchase “credits” from him and sell “panels” to the customers.
        The subject advised that he had multiple servers available and would give a free test of the servers, and
        let the investigator decide which ones to choose from.

   •    On January 12, we received notification that our PayPal payment was once again refunded and the
        subject advised he would not take PayPal payments and requested payment through Zelle again. We
        inquired if he knew anyone in Canada we could facilitate payment through and he provided the name of
        a “friend”, Ahmed Goreja and instructed us to pay this person through the Wise payment app and send
        the funds to fox its@outlook.ie. Payment was made and the subject confirmed receipt. He advised that
        this was the right way moving forward and to advise when we were ready to make further purchases.

   •    Full details of our correspondence with Mr. Sharma have been included below in screenshots from
        WhatsApp.

   •    Any further correspondence with Mr. Sharma will be forwarded under a separate cover.



INQUIRIES:

Mr. Sharma was initially contacted on November 21, 2023, through WhatsApp, to the number (925) 915-9739.

Note – “ Ji ” is a suffix in the Hindi language, typically added at the end of a person’s name, word or sentence
as a sign of respect.




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The investigator enquired about what is a 4K spice server, to which the subject said, it was a server with Indian
content and there are other servers such as Smart, Gold, Jii.




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A MAC address was provided to the subject on December 11, 2023, after which he activated the service. Mr.
Sharma also advised that he would soon be providing a PayPal account to make the payment.




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On December 13, 2023, the subject again requested that the investigator make the payment through the “Zelle”
online method.




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On January 12, 2024, we received notification that our payment to PayPal was refunded again, along with a
message that indicated “you were never my client or availed any of my services.” We subsequently followed up
with the subject to inquire why the PayPal payment was refunded again. In subsequent conversations, the
subject advised that he will not be taking PayPal money, indicating “Dish and some other companies have been
catching people.” He again requested we make payment through Zelle.




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We then inquired with the subject if he knows anyone in Canada that we could send funds to that could
subsequently pay the subject. He advised that he knows someone in Brampton that we could send funds
through Wise. He requested we send $350 CAN to fox its@outlook.ie and indicated when sending payment
“don’t say iptv. Say hardware payment or Box payment.” They payment will be sent to his friend Ahmed
Goreja, in Canada. He requested we put reference: Vaneet Sharma.




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On January 24, 2024, a payment of $350 was sent to fox its@outlook.ie through the Wise payment app, with
transaction # 942783552. We advised the subject that payment was sent. He confirmed that it was received
and to let him know when we are ready for panel and box. He also indicated that this is the right way moving
forwards.




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